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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN


 MARK W. DOBRONSKI,

               Plaintiff,
        v.

 MILBERG COLEMAN BRYSON PHILLIPS                        No. 2:23-cv-11232-DPH-KGA
 GROSSMAN, PLLC, MARC J. BERN &
 PARTNERS LLP, BIRGER KRISTIAN W.
 RASMUSSEN III, a/k/a KRISTIAN
 RASMUSSEN, and PATRICK MATTHEW
 WALLACE,

               Defendants.


                                NOTICE OF APPEARANCE

       Please take notice that Daniel S. Blynn of Steptoe & Johnson LLP hereby enters his

appearance for Defendants Milberg Coleman Bryson Phillips Grossman, PLLC, Kristian

Rasmussen, and Patrick Wallace in the above-entitled cause of action.


Dated: June 9, 2023                 Respectfully Submitted,

                                    /s/ Daniel S. Blynn
                                    Daniel S. Blynn
                                    dblynn@steptoe.com
                                    STEPTOE & JOHNSON LLP
                                    1330 Connecticut Avenue, NW
                                    Washington, DC 20036
                                    Telephone: 202.429.1307
                                    Facsimile: 202.429.3902

                                    Attorneys for Defendants Milberg Coleman Bryson Phillips
                                    Grossman, PLLC, Kristian Rasmussen, and Patrick Wallace
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                               CERTIFICATE OF SERVICE

        I hereby certify that, on June 9, 2023, I electronically filed the foregoing Notice of
Appearance with the Clerk of the Court using the CM/ECF system, which automatically sends an
electronic notification to all counsel of record and other CM/ECF participants. A copy also has
been served via first-class mail on:

                                    Mark W. Dobronski
                                    P.O. Box 85547
                                    Westland, MI 48185-0547

                                    /s/ Daniel S. Blynn




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